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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION

TORY HARDWICK,                    )



                                  )



     Movant,                      )



                                  )



V.                                )
                                              Case No. CV415..312
                                  )
                                                      CR412-086
UNITED STATES OF AMERICA,         )



                                  )



     Respondent.                        )




          AMENDED REPORT AND RECOMMENDATION'

     Convicted of conspiring to commit wire fraud and money

laundering, Tory Hardwick moves under 28 U.S.C. § 2255 to

have his sentence reduced to time served. Doc. 442.2

Preliminary review under Rule 4 of the Rules Governing Section

2255 Proceedings shows that grounds one, three, and four of his

motion must be DENIED for the same reasons set forth in

Robinson v. United States, CV415-294, doc. 2 (S.D. Ga. Nov.



1
   The Court sua sponte VACATES its November 18, 2015 Report and
Recommendation (doc. 2) and replaces it with this one.
2 All citations are to the criminal docket unless otherwise noted, and all
page numbers are those imprinted by the Court's docketing software.
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16,201S). 3 Ground two, which, like Hardwick's other claims, is

identical to ground 2 in Robins on, 4 fails for the same reasons

given by the Eleventh Circuit in United States v Reed, 592 F.

App'x 759, 761 (11th Cir. 2014).


   The § 2255 motions in Robinson and this case are much more than "me-
too" pleas for relief. Other than the names of the movant, the motions are
identical. Compare Robinson, doc 5, with doc. 1. Hence, they fail for the
same reasons.

' Ground two in its entirety:

   The sentencing court erred when it adopted the PSR as factual without
   reliable indicia. A violation of Movant's 5th Amendment right to due
   process. The relevant Conduct that the court adopted was not proven
   beyond a reasonable doubt, nor was the victims accurate in the PSR.
   The PSR charged that there was 250+ victims, when clearly the
   restitution is set to pay to one victim. There are several discrepancies
   that the Movant has been sentenced to based on the PSR that the
   Court adopted in its entirety.

Doc. 442 at S.

    Hardwick's ground two mirrors Robinson's direct appeal claim. In
addressing Robinson's, the court of appeals held that this Court:

   did not clearly err by enhancing Robinson's base offense level by six
   levels to account for the large number of his victims. Robinson
   purchased, at 65 percent of face value, thousands of electronic
   transfer cards and vouchers that had been issued to children as part of
   the Georgia Women, Infants, and Children Program (WIC Program) and
   the Supplemental Nutrition Assistance Program. Robinson then
   delivered the cards and vouchers to cashiers at children's stores that
   he knew would charge the cards and redeem the vouchers using
   fraudulent transactions and would give him cash in the amount of the
   transactions. Robinson argues that the only victim of his offense is the
   United States Department of Agriculture, which administered the state
   benefits programs. But a victim is "any person who sustain[s] any part
   of the actual loss" of an offense. U.S.S.GU § 2131.1 cmt. n. 1. As

                                      2
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      Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D.

Ga. Feb.9, 2009), the Court discerns no COA-worthy issues at

this stage of the litigation, so no COA should issue either. 28

U.S.C.§ 2253(c)(1); Rule 11(a) of the Rules Governing Habeas

Corpus Cases Under 28 U.S.C. § 2254 ("The district court must

issue or deny a certificate of appealability when it enters a final

order adverse to the applicant.") (emphasis added).

      SO REPORTED AND RECOMMENDED this 10th day of

March, 2016.




                                UMTED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA




   explained in the presentence investigation report adopted by the
   district court, the victims of Robinson's fraud included the children who
   were named on the cards and vouchers as the intended beneficiaries of
   the programs. A defendant is subject to a six-level enhancement of his
   base offense level when an offense involves more than 250 victims, id.
   § 2131.1(b)(2)(C), and Robinson does not dispute that the conspiracy
   involved the acquisition and fraudulent use of more than 250 cards and
   vouchers.

Reed, 592 F. App'x at 761. The same reasoning applies to bar Hardwick's
identical claim here.
                                       3
